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               IN THE UNITED STATES DISTRICT COURT FOR THE

                            DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:05CR157
                              )
          v.                  )
                              )
ARTURO HERNANDEZ,             )                        ORDER
                              )
               Defendant.     )
______________________________)


           The Court has been advised that defendant wishes to

enter a plea in the above matter.         Accordingly,

           IT IS ORDERED that a Rule 11 hearing is scheduled for:

                Thursday, July 28, 2005, at 9 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse,

Omaha, Nebraska, or as soon thereafter as may be called by the

Court.   The ends of justice will be served by continuing this

case and outweigh the interests of the public and the defendant

in a speedy trial.       The additional time between June 21, 2005,

and July 28, 2005, shall be deemed excludable time in any

computation of time under the requirement of the Speedy Trial

Act.   18 U.S.C. § 3161(h)(8)(A) & (B).

           DATED this 21st day of June, 2005.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     _________________________________
                                        LYLE E. STROM, Senior Judge
                                        United States District Court
